                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:07-cr-154

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                     ORDER
                                         )
STEPHEN GIACOBBE (4)                     )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant to terminate

supervised release early. (Doc. No. 413).

       Title 18, United States Code, Section 3583(e)(1) permits a court to discharge a defendant

from supervised release after one year after considering the factors in 18 U.S.C. §§ 3553(a)(1),

(a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7). The motion recites that the

government and the United States Probation Office do not oppose the requested relief. Upon

review of the entire record in this case, the Court finds that reduction of the supervised release

term would achieve a sufficient, but not greater than necessary, sentence.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is GRANTED, and the

Judgment (Doc. No. 206) is amended to reduce the supervised release term to the time served on

supervision since November 15, 2010.




                                                         Signed: December 20, 2011




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